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        Case 1:21-cv-01495-JPH-DLP 34D02-2104-CT-001155
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                                                  Howard Superior Court 2                            Howard County, Indiarr



                                               HOWARD COUNTY COURT
                                                 STATE OF INDIANA

ESTATE OF DAVID DAUGHTRY,
by Aaron St. Clair, Personal Representative,

                Plaintiff

VS.

GM COMPONENTS HOLDINGS, LLC,
and JOSHUA M. KEELER,

                Defendants
                                                      SUMIVIONS

The State of Indiana to Defendant: GM COMPONENTS HOLDINGS, LLC, c/o Corporation Service
Company,135 North Pennsylvania St., Suite 1610, Indianapolis, Indiana, 46204.
         You have been sued by the entitled named "plaintiff' in the court stated above.
         The nature of the suit against you is stated in the Complaint which is attached to this document. It also
states the demand which the plaintiff has made and wants from you.
         You must answer the Complaint in writing, by you or your attorney, within twenty (20) days,
commencing the day after you receive this Summons (you have twenty-three (23) days to answer if this
summons was received by mail), or judgment will be entered against you for what the plaintiff has demanded.
         If you have a claim for relief against the plaintiff arising from the same transaction or occurrence you
must assert it in your written answer.

Date      5/3/2021                                                                              LW
                                                 Clerk, Howard County Court (Seal)
Alan D. Wilson #11360-34
Attorney for Plaintiff
515 West Sycamore Street
Kokomo, IN 46901
(765)457-9321
                                   DESIGNATION OF SERVICE
     Plaintiff hereby designates the following manner of service: Certified
Requested.
                                 RETURN OF SERVICE OF SUMMONS
             I hereby certify that I have served the within Summons:

       1.      By delivering on the       day of _                    2021, a copy of this Summons and a
copy of the Complaint to the within-named defendant.
       2.      By mailing, on the        day of                    , 2021, for the within-named defendant,
copy of  the Summons and a copy of the Complaint, it being the place of business/residence of said person at
the time the copy was mailed.
       3.      By                                        The within Summons was not served because


        All done in Howard County, Indiana
                                                         Clerk, Howard County

                                                         M
Case 1:21-cv-01495-JPH-DLP Document 1-1 Filed 06/03/21 Page 2 of 3 PageID  #:4130/2021
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                                    Howard Superior Court 2                            Howard County, Indian,




STATE OF INDIANA )
                 ) SS:
COUNTY OF HOWARD )

ESTATE OF DAVID DAUGHTRY,
by Aaron St. Clair, Personal Representative.

                    Plaintiff,

VS.

GM COMPONENTS HOLDINGS, LLC; and
JOSHUA M. KEELER,

                     Defendants.

                      COMPLAINT FOR WRONGFUL DEATH

       Comes now Plaintiff, Aaron St. Clair, in his capacity as Personal Representative of

the Estate of David Daughtry, and for this cause of action alleges and says:

       1.     That on the evening of May 1, 2019, David Daughtry was employed by

Roadrunners Trucicing, and was making a delivery on the Defendant's property on East

Lincoln Road, in Kolcomo, Howard County, Indiana:

       2.     After David Daughtry exited his work vehicle, and was proceeding on foot, he

was strucic by a vehicle driven by Joshua M. Keeler.

       3.     David Daughtry was severely injured as a result of being struck, and ultirnately

died from his injuries on March 7, 2020.

       4.     That the accident was the proximate result, in whole or in part, of the

negligence of the Defenda.nts.
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      5.     That as a direct and proximate result of the negligence of the Defendants, the

Plaintiff suffered damages, loss of the love and companionship of David Daughtry, and other

damages pursuant to I. C. 34-23-1-2.

       6.     That at all pertinent times, David Daughtry was acting in a careful and prudent

manner.

       WHEREFORE, Plaintiff prays for judgment against the Defendants, for an award of

damages per I. C. 34-23-1-2, and for a11 other just and proper relief in the premises.

                                           Alan D. Wilson #11360-34
                                           515 West Sycamore Street
                                           P. O. Box 958
                                           Kolcomo, IN 46903-0958
                                           (765)457-9321



                                              /s/ Alan D. Wilson
